Case 1:18-cv-02192-HG-PK   Document 86-12   Filed 04/04/22   Page 1 of 3 PageID #:
                                    2104




                     Exhibit 12
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Case    1:18-cv-02192-HG-PK
     16-2119,                  Document
              Document 71, 10/21/2016,   86-12 Page100
                                       1891913, Filed 04/04/22
                                                        of 330                                                    Page 2 of 3 PageID #:
                                          2105




                                                Payment
  Type: BK                  Status: Released    Vdate: 110300       TCN: 356BAN: 959913
  Amount: $9,500.00     Commission: $0.00 ()               Charge: $16.00 (C)Cost Center:
  Credit Account: 7001609000051 ()
  Debit Account: 7001100100051 {)
  ABA: 0572 (BOOK T R A N S F E R )
  Swift 20: 01811 POO C H T O        Swift 21:
  Input: 00:00:00 (...)
  OFAC: 09:49:03 (MUM)
  Auth. Rei: 21:44:01 (...)
  Released: 21:44:01
  Verified: 00:00:00 (...)
  Credit/IBK Party: 7001609000051              UID: 342308          Swift: ARABPS22   Fedld:
                           A R A B BANK, RAMALLAH
  BBK Party:               UID:      Swift:    Fedld:
                           A R A B BANK PLC GAZA BRANCH
                           PALESTINE
  BNF Party: 349321510UID:           Swift:    Fedld:
                        SALAH MUSTAFA M O H A M A D C H E H A D E H
  Debit/INS Party: 7001100100051      UID: 000448         . Swift: ARABLBBX           Fedld:
                             A R A B BANK,BEIRUT
  O G B Party:               UID: 000000      Swift:       Fedld:
                             A R A B LB B1024
                             A R A B BANK PLC
                             (CHTOURA BRANCH)
                             CHTOURA
  O R G Party:               UID: 000000   Swift:          Fedld:
                             MR.YÖUSEF EL HAYEK




  ST-Pymnts      Investigations                   Page 1                                       ?9-.lan-08




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                                               PX2163.pdf



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   Case
Case    1:18-cv-02192-HG-PK
     16-2119,                  Document
              Document 71, 10/21/2016,    86-12 Page146
                                       1891913,  Filed 04/04/22
                                                         of 330   Page 3 of 3 PageID #:
                                          2106




                                                            ABPLC212083

                          PX2145.pdf



                                                              JA716
